       Case:
     Case    24-60395    Document:
          1:24-cv-00025-LG-RPM     67 Page:
                                Document 1111 Filed
                                                 Date Filed: 08/13/2024
                                                    08/13/24   Page 1 of 3




                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                              August 13, 2024


Ms. Elisabeth C. Frost
Elias Law Group, L.L.P.
250 Massachusetts Avenue, N.W.
Suite 600
Washington, DC 20001

Mr. Tim C. Holleman
Boyce Holleman & Associates
1720 23rd Avenue
Boyce Holleman Boulevard
Gulfport, MS 39501

Mr. Thomas McCarthy
Consovoy McCarthy, P.L.L.C.
1600 Wilson Boulevard
Suite 700
Arlington, VA 22209

Mr. T. Russell Nobile
Judicial Watch, Incorporated
P.O. Box 6592
Gulfport, MS 39506

Mr. Scott G. Stewart
Mississippi Attorney General’s Office
550 High Street
P.O. Box 220
Suite 1100
Jackson, MS 39205

      No. 24-60395      Republican Natl Cmte v. Wetzel
                        USDC No. 1:24-CV-25
                        USDC No. 1:24-CV-37


Dear Counsel,
Attached is a revised case caption, which should be used on all
future filings in this case.
        Case:
      Case    24-60395    Document:
           1:24-cv-00025-LG-RPM     67 Page:
                                 Document 1112 Filed
                                                  Date Filed: 08/13/2024
                                                     08/13/24   Page 2 of 3



Any party filing a matter outside normal business hours (M-F, 8:00
a.m. – 5:00 p.m.) that may require the court’s immediate attention
should call the emergency duty deputy and inform them of the
filing, even if the matter does not qualify as an emergency under
5th Cir. R. 27.3. The emergency duty deputy can be reached at 504-
442-0252.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk


                                    By: _________________________
                                    Rebecca Andry, Deputy Clerk
                                    504-310-7638
cc:
      Mr. Christopher D. Dodge
      Mr. Arthur S. Johnston III
      Mr. Eric W. Lee
      Mr. Justin Lee Matheny
      Mr. Richard Alexander Medina
      Ms. Sherri Penny
      Mr. Spencer M. Ritchie
      Mr. Rex Morris Shannon III
      Mr. Conor Woodfin
       Case:
     Case    24-60395    Document:
          1:24-cv-00025-LG-RPM     67 Page:
                                Document 1113 Filed
                                                 Date Filed: 08/13/2024
                                                    08/13/24   Page 3 of 3



                             Case No. 24-60395




Republican National Committee; Mississippi Republican Party;
James Perry; Matthew Lamb,
                        Plaintiffs - Appellants
v.
Justin Wetzel, in his official capacity as the clerk and
registrar of the Circuit Court of Harrison County; Toni Jo Diaz,
in their official capacities as members of the Harrison County
Election Commission; Becky Payne, in their official capacities
as members of the Harrison County Election Commission; Barbara
Kimball, in their official capacities as members of the Harrison
County Election Commission; Christene Brice, in their official
capacities as members of the Harrison County Election
Commission; Carolyn Handler, in their official capacities as
members of the Harrison County Election Commission; Michael
Watson, in his official capacity as the Secretary of State of
Mississippi,
                        Defendants - Appellees

Vet Voice Foundation; Mississippi Alliance for Retired
Americans,
                   Intervenor Defendants - Appellees
____________________________
Libertarian Party of Mississippi,
                        Plaintiff - Appellant
v.
Justin Wetzel, in his official capacity as the clerk and
registrar of the Circuit Court of Harrison County; Toni Jo Diaz
in their official capacities as members of the Harrison County
Election Commission; Becky Payne, in their official capacities
as members of the Harrison County Election Commission; Barbara
Kimball, in their official capacities as members of the Harrison
County Election Commission; Cristene Brice, in their official
capacities as members of the Harrison County Election
Commission; Carolyn Handler, in their official capacities as
members of the Harrison County Election Commission; Michael
Watson, in his official capacity as the Secretary of State of
Mississippi,
                        Defendants - Appellees
